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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

 JASMYN BICKHAM, individually and on behalf )
 of all others similarly situated,          )
                                            ) Case No.:
                 Plaintiff,                 )
                                            )
 v.                                         )
                                            )
 REPROSOURCE FERTILITY DIAGNOSTICS, )
 INC.,                                      )
                                            )
                 Defendant.                 )
 ________________________________________ )
                                            )


                                 CLASS ACTION COMPLAINT

       Plaintiff Jasmyn Bickham (“Plaintiff” or “Bickham”), individually and on behalf of all

others similarly situated, through undersigned counsel, hereby alleges the following against

Defendant ReproSource Fertility Diagnostics, Inc. (“ReproSource” or “Defendant”).            Facts

pertaining to Plaintiff and her personal experiences and circumstances are alleged on personal

knowledge, and all other facts herein are alleged on information and belief, based on, inter alia,

the investigation of Plaintiff’s counsel.

                                   NATURE OF THE ACTION

       1.       This is a class action for damages with respect to ReproSource, for its failure to

exercise reasonable care in securing and safeguarding its patients’ sensitive personal data—

including names, addresses, email addresses, dates of birth, Social Security numbers, health

insurance billing information, and treating physician information, collectively known as personally

identifiable information (“PII” or “Private Information”).




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       2.       This class action is brought on behalf of patients whose sensitive PII was stolen by

cybercriminals in a cyber-attack that accessed sensitive patient information through ReproSource’s

services on or around August 8, 2021 (the “Data Breach”).

       3.       The Data Breach affected at least 350,000 individual customers of ReproSource’s

services.

       4.       ReproSource reported to Plaintiff that information compromised in the Data Breach

included her PII.

       5.       Plaintiff was not notified of the data breach until October 21, 2021, more than two

months after her information was first accessed.

       6.       As a result of the Data Breach, Plaintiff and other Class members will experience

various types of misuse of their PII in the coming months and years, including but not limited to

unauthorized credit card charges, unauthorized access to email accounts, identity theft, and other

fraudulent use of their financial accounts.

       7.       There has been no assurance offered by ReproSource that all personal data or copies

of data have been recovered or destroyed. ReproSource offered to provide Kroll credit monitoring,

which does not guarantee the security of Plaintiff’s or Class members’ information. To mitigate

further harm, Plaintiff chose not to disclose any more information in order to receive services

connected with ReproSource.

       8.       Accordingly, Plaintiff asserts claims for negligence, breach of contract, breach of

implied contract, and breach of fiduciary duty.




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                                            PARTIES

A.     Plaintiff Jasmyn Bickham

       9.       Plaintiff Jasmyn Bickham is a resident of Rhode Island and brings this action in her

individual capacity and on behalf of all others similarly situated. Bickham visited a Fertility

Solutions clinic in Providence, Rhode Island in 2015 for a doctor’s appointment. To receive

services at Fertility Solutions, Plaintiff was required to disclose her PII, which was then entered

into ReproSource’s database and maintained by Defendant without her knowledge. In maintaining

her information, Defendant expressly and impliedly promised to safeguard Plaintiff’s PII.

Defendant, however, did not take proper care of Bickham’s PII, leading to its exposure as a direct

result of Defendant’s inadequate security measures. In October of 2021, Plaintiff received a

notification letter from Defendant stating that her PII was taken, which included “names,

addresses, phone number, email addresses, date[s] of birth, billing and health information, health

insurance or group plan identification names and numbers provided by you or your treating

physician.”

       10.      The letter also offered one year of credit monitoring through Kroll, which was and

continues to be ineffective for Bickham and other class members. The Kroll credit monitoring

would have shared Bickham’s information with third parties and could not guarantee complete

privacy of her sensitive PII.

       11.      In the months and years following the Data Breach, Bickham and the other Class

members will experience a slew of harms as a result of Defendant’s ineffective data security

measures. Some of these harms will include fraudulent charges, medical procedures ordered in

patients’ names without their permission, and targeted advertising without patient consent.




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        12.     Plaintiff greatly values her privacy, especially in receiving medical services (and

fertility services in particular), and she would not have paid the amount that she did for fertility

services if she had known that her information would be maintained using inadequate data security

systems.

B.      Defendant

        13.     Defendant ReproSource is a fertility testing company, which operates nationally,

including in Rhode Island. ReproSource offers a number of fertility treatment products, including

egg supply testing, semen testing, recurrent pregnancy loss laboratory testing services, and other

fertility-focused services. ReproSource has a principal place of business at 300 Trade Center,

Suite 6540, Woburn, Massachusetts 01801. ReproSource’s corporate policies and practices,

including those used for data privacy, are established in, and emanate from Massachusetts.

                                  JURISDICTION AND VENUE

        14.     The Court has jurisdiction over Plaintiff’s claims under 28 U.S.C. § 1332(d)(2),

because (a) there are 100 or more Class members, (b) at least one Class member is a citizen of a

state that is diverse from Defendant’s citizenship, and (c) the matter in controversy exceeds

$5,000,000, exclusive of interest and costs.

        15.     The Court has personal jurisdiction over Defendant because Defendant’s principal

place of business is located in this District.

        16.     Venue is proper in this district under 28 U.S.C. § 1391(b)(1) because Defendant

maintains its principal place of business in this District and therefore resides in this District

pursuant to 28 U.S.C. § 1391(c)(2). A substantial part of the events or omissions giving rise to the

Class’s claims also occurred in this District.




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                                                 FACTS

        17.     Defendant provides a wide variety of fertility diagnostics to thousands of patients

in Rhode Island and hundreds of thousands of patients across the country, as well as providing

consultation services to fertility centers. As part of its business, Defendant was entrusted with,

and obligated to safeguard and protect the Private Information of Plaintiff and the Class in

accordance with all applicable laws.

        18.     In August of 2021, Defendant first learned of an unauthorized entry into its

network, which contained customers’ Private Information including names, addresses, email

addresses, dates of birth, Social Security numbers, financial account numbers, billing, and other

health information. Defendant posted the following notice on its website: 1

                ReproSource is providing notice that it experienced a data security
                incident in which an unauthorized party may have accessed or
                acquired protected health information and personally identifiable
                information of ReproSource patients. This notice explains the steps
                we have taken to address this issue and additional steps that can be
                taken to safeguard personal information that was potentially
                accessed. This notice also explains the incident and offers assistance
                for individuals whose personal information may have been
                accessed, including complimentary credit and identity monitoring
                services.

                What Happened

                On August 8, 2021, an unauthorized party accessed the ReproSource
                network. We discovered ransomware on the morning of August 10,
                and in less than an hour we severed all network connection activity
                and contained the incident. We immediately launched a
                comprehensive investigation to determine the cause and scope of the
                incident. We retained leading cybersecurity experts to assist with
                our investigation, confirmed containment of the ransomware, and
                quickly and securely recovered operations. Additionally, we
                promptly notified law enforcement.



1
 Notice of Data Breach, (Aug. 8, 2021), https://www.reprosource.com/wp-content/uploads/2021/10/ReproSource-
Notice-of-data-breach-10-8-21.pdf [hereinafter Data Breach Notice].

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    While our investigation did not confirm that the unauthorized party
    acquired data in the incident, out of an abundance of caution, we are
    notifying individuals whose personal information may have been
    accessed.

    We undertook an extensive analysis of our files to determine which
    data may have been accessed for which individuals and on
    September 24, 2021, we identified individuals whose data was
    potentially accessed. Although our data analysis is ongoing, in the
    interest of initiating notifications, we are in the process of informing
    individuals whose personal information may have been accessed
    and we have begun providing the services outlined in this letter.

    What Information Was Involved

    Based on our analysis to date, personal information in files that may
    have been accessed or acquired without authorization included:
    names, addresses, phone numbers, email addresses, dates of birth,
    billing and health information, such as CPT codes, diagnosis codes,
    test requisitions and results, test reports and/or medical history
    information, health insurance or group plan identification names and
    numbers, and other information provided by individuals or by
    treating physicians. For a small group of individuals, personal
    information may have included driver’s license numbers, passport
    numbers, Social Security numbers, financial account numbers,
    and/or credit card numbers. As previously noted, our data analysis
    to determine which of the above personal information may have
    been accessed for which individuals is ongoing.

    What We Are Doing

    As discussed above, upon learning of the attack, we immediately
    severed all network connection activity and contained the incident.
    We promptly notified law enforcement. We also enhanced our
    cybersecurity by adding additional monitoring and detection tools
    as additional safeguards against ransomware and other cyber threats.

    What You Can Do

    To help relieve any concerns you may have following this incident,
    we have secured the services of Kroll to provide credit and identity
    monitoring at no cost to those whose personal information may have
    been accessed, as described in your letter. Kroll is a global leader in
    risk mitigation and response, and their team has extensive
    experience helping people who have sustained an unintentional
    exposure of confidential data. Identity monitoring services that are

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                 offered include Credit Monitoring, a Current Credit Report, Web
                 Watcher, Public Persona, Quick Cash Scan, $1 Million Identity
                 Fraud Loss Reimbursement, Fraud Consultation, and Identity Theft
                 Restoration. For further details and to take advantage of this service,
                 please call 1-855-732-0717, Monday through Friday from 8:00 a.m.
                 to 5:30 p.m. Central Time.

                 Please review the “Additional Resources” section included with this
                 letter below. This section describes additional steps you can take to
                 help protect your information, including recommendations by the
                 Federal Trade Commission regarding identity theft protection and
                 details on how to place a fraud alert or a security freeze on your
                 credit file.

                 More Information

                 ReproSource is committed to protecting the privacy of personal
                 information. We will continue to review our physical and electronic
                 safeguards to protect personal information and take appropriate
                 steps to safeguard patient information and our systems.

                 We deeply regret any inconvenience or concern this may have
                 caused. If you have questions, please call 1-855-732-0717, Monday
                 through Friday from 8:00 a.m. to 5:30 p.m. Central Time with
                 questions.

        19.      Upon learning of the Data Breach in August 2021, Defendant investigated. As a

result of the Data Breach, Defendant initially estimated that the Private Information of at least

350,000 patients was potentially compromised stemming from services previously received. 2

        20.      In October of 2021, Defendant first announced that it learned of suspicious activity

that allowed one or more cybercriminals to access its systems through a ransomware attack. The

October, 2021 Notice disclosed that a ransomware attack enabled a threat actor to access

ReproSource systems.




2
 These numbers were reported to the Health and Human Services Healthcare Data Breach Portal. See Cases Currently
Under      Investigation,    U.S.    DEP’T     OF      HEALTH       &    HUMAN       SERVS.:      BREACH      PORTAL,
https://ocrportal.hhs.gov/ocr/breach/breach_report.jsf [hereinafter Breach Portal] (last visited Nov. 8, 2021).


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       21.     Defendant offered no explanation for the delay between the initial discovery of the

Breach and the belated notification to affected customers, which resulted in Plaintiff and Class

members suffering harm they otherwise could have avoided had a timely disclosure been made.

       22.     Defendant’s delay in notifying its customers affected by the Data Breach violated

the provisions of Massachusetts General Laws, Chapter 93H, and in particular the reporting

provisions of c. 93H, § 3, which required Defendant, once it knew or had reason to know of a data

security breach involving personal information and affecting Massachusetts residents, to provide

prompt and direct notice of such breach to any affected Massachusetts residents, to the

Massachusetts attorney general, and to the director of consumer affairs and business regulation

for Massachusetts.

       23.     ReproSource’s notice of Data Breach was not just untimely but woefully deficient,

failing to provide basic details, including but not limited to, how unauthorized parties accessed its

networks, whether the information was encrypted or otherwise protected, how it learned of the

Data Breach, whether the breach occurred system-wide, whether servers storing information were

accessed, and how many patients were affected by the Data Breach. Even worse, ReproSource

offered only one year of identity monitoring to Plaintiff and Class members, which required the

disclosure of additional PII that ReproSource had just demonstrated it could not be trusted with.

       24.     Plaintiff’s and Class members’ PII is likely for sale to criminals on the dark web,

meaning that unauthorized parties have accessed and viewed Plaintiff’s and Class members’

unencrypted, unredacted information, including names, addresses, email addresses, dates of birth,

Social Security numbers, member ID numbers, policyholder names, employer names, policy

numbers, and more.




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       25.       The Breach occurred because Defendant failed to take reasonable measures to

protect the Personally Identifiable Information it collected and stored. Among other things,

Defendant failed to implement data security measures designed to prevent this attack, despite

repeated warnings to the healthcare industry, insurance companies, and associated entities about

the risk of cyberattacks and the highly publicized occurrence of many similar attacks in the recent

past on other healthcare providers.

       26.       Defendant disregarded the rights of Plaintiff and Class members by intentionally,

willfully, recklessly, or negligently failing to take and implement adequate and reasonable

measures to ensure that Plaintiff’s and Class members’ PII was safeguarded, failing to take

available steps to prevent an unauthorized disclosure of data, and failing to follow applicable,

required and appropriate protocols, policies and procedures regarding the encryption of data, even

for internal use. As a result, the PII of Plaintiff and Class members was compromised through

unauthorized access by an unknown third party. Plaintiff and Class members have a continuing

interest in ensuring that their information is and remains safe.

A.     Defendant’s Privacy Promises

       27.       ReproSource made, and continues to make, various promises to its customers,

including Plaintiff, that it will maintain the security and privacy of their Private Information.

       28.       In its Notice of Privacy Practices, which was updated for 2021, and therefore

applicable to Plaintiff, Defendant stated under a section bolded and titled “Our Responsibilities,”

the following:

                    “ReproSource is required by law to maintain the privacy of your
                     PHI.”

                    “We are required to notify affected individuals in the event of a
                     breach involving unsecured protected health information.”


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                  “We are required to follow the terms of this Notice currently in
                   effect.”

                  “We need your written authorization to use or disclose your
                   health information for any purpose not covered by the
                   [enumerated categories] below.”

       29.     ReproSource describes how it may use and disclose medical information for each

category of uses or disclosures, none of which provide it a right to expose patients’ Private

Information in the manner in which it was exposed to unauthorized third parties in the Data Breach.

       30.     By failing to protect Plaintiff’s and Class members’ Private Information, and by

allowing the Data Breach to occur, ReproSource broke these promises to Plaintiff and Class

members.

B.     Defendant Failed to Maintain Reasonable and Adequate Security Measures to
       Safeguard Customers’ Private Information

       31.     ReproSource acquires, collects, and stores a massive amount of its customers’

protected PII, including health information and other personally identifiable data.

       32.     As a condition of engaging in health-related services, ReproSource requires that

patients entrust them with highly confidential Private Information.

       33.     By obtaining, collecting, using, and deriving a benefit from Plaintiff’s and Class

members’ Private Information, ReproSource assumed legal and equitable duties and knew or

should have known that it was responsible for protecting Plaintiff’s and Class members’ Private

Information from disclosure.

       34.     Defendant had obligations created by the Health Insurance Portability and

Accountability Act (42 U.S.C. § 1320d et seq.) (“HIPAA”), Massachusetts law (including M.G.L.,

c. 111, §70E(b)), industry standards, common law, and representations made to class members, to




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keep Class members’ Private Information confidential and to protect it from unauthorized access

and disclosure.

          35.     Defendant failed to properly safeguard Class members’ Private Information,

allowing hackers to access their Private Information.

          36.     Plaintiff and Class members provided their Private Information to Defendant with

the reasonable expectation and mutual understanding that Defendant and any of its affiliates would

comply with their obligation to keep such information confidential and secure from unauthorized

access.

          37.     Prior to and during the Data Breach, Defendant promised customers that their

Private Information would be kept confidential.

          38.     Defendant’s failure to provide adequate security measures to safeguard customers’

Private Information is especially egregious because Defendant operates in a field which has

recently been a frequent target of scammers attempting to fraudulently gain access to customers’

highly confidential Private Information.

          39.     In fact, Defendant has been on notice for years that the healthcare industry and

health insurance companies are a prime target for scammers because of the amount of confidential

customer information maintained.

          40.     Defendant was also on notice that the FBI has been concerned about data security

in the healthcare industry. In August 2014, after a cyberattack on Community Health Systems,

Inc., the FBI warned companies within the healthcare industry that hackers were targeting them.

The warning stated that “[t]he FBI has observed malicious actors targeting healthcare related




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systems, perhaps for the purpose of obtaining the Protected Healthcare Information (PHI) and/or

Personally Identifiable Information (PII).”3

        41.      The American Medical Association (“AMA”) has also warned healthcare

companies about the important of protecting their patients’ confidential information:

                 Cybersecurity is not just a technical issue; it’s a patient safety issue.
                 AMA research has revealed that 83% of physicians work in a
                 practice that has experienced some kind of cyberattack.
                 Unfortunately, practices are learning that cyberattacks not only
                 threaten the privacy and security of patients’ health and financial
                 information, but also patient access to care. 4

        42.      The number of US data breaches surpassed 1,000 in 2016, a record high and a forty

percent increase in the number of data breaches from the previous year. 5 In 2017, a new record

high of 1,579 breaches were reported—representing a 44.7 percent increase. 6 That trend continues.

        43.      The healthcare sector reported the second largest number of breaches among all

measured sectors in 2018, with the highest rate of exposure per breach. 7 Indeed, when

compromised, healthcare related data is among the most sensitive and personally consequential. A

report focusing on healthcare breaches found that the “average total cost to resolve an identity

theft-related incident . . . came to about $20,000,” and that the victims were often forced to pay

out-of-pocket costs for healthcare they did not receive in order to restore coverage. 8 Almost 50



3
    Jim Finkle, FBI Warns Healthcare Firms that they are Targeted by Hackers, REUTERS (Aug. 2014),
https://www.reuters.com/article/us-cybersecurity-healthcare-fbi/fbi-warnshealthcare-firms-they-are-targeted-by-
hackers-idUSKBN0GK24U20140820.
4
  Andis Robeznieks, Cybersecurity: Ransomware attacks shut down clinics, hospitals, AM. MED. ASS’N (Oct. 4, 2019),
https://www.ama-assn.org/practice-management/sustainability/cybersecurity-ransomware-attacks-shut-down-
clinics-hospitals.
5
   Identity Theft Resource Center, Data Breaches Increase 40 Percent in 2016, Finds New Report From
Identity Theft Resource Center and CyberScout (Jan. 19, 2017), https://www.idtheftcenter.org/surveys-studys.
6
  Identity Theft Resource Center, 2017 Annual Data Breach Year-End Review, https://www.idtheftcenter.org/2017-
data-breaches/.
7
  Identity Theft Resource Center, 2018 End -of-Year Data Breach Report, https://www.idtheftcenter.org/2018-data-
breaches/.
8
     Elinor Mills, Study: Medical identity theft is costly for victims, CNET (March 3, 2010),
https://www.cnet.com/news/study-medical-identity-theft-is-costly-for- victims/.

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percent of the victims lost their healthcare coverage as a result of the incident, while nearly 30

percent said their insurance premiums went up after the event. Forty percent of the customers were

never able to resolve their identity theft at all. Data breaches and identity theft have a crippling

effect on individuals and detrimentally impact the economy as a whole. 9

        44.       A 2017 study conducted by HIMSS Analytics showed that email was the most

likely cause of a data breach, with 78 percent of providers stating that they experienced a healthcare

ransomware or malware attack in the past 12 months.

        45.       Healthcare related data breaches continued to rapidly increase into 2021 when

ReproSource was breached.10

        46.       In the Healthcare industry, the number one threat vector from a cyber security

standpoint is phishing. Cybersecurity firm Proofpoint reports that “phishing is the initial point of

compromise in most significant [healthcare] security incidents, according to a recent report from

the Healthcare Information and Management Systems Society (HIMSS). And yet, 18% of

healthcare organizations fail to conduct phishing tests, a finding HIMSS describes as

“incredible.”11

        47.       As explained by the Federal Bureau of Investigation, “[p]revention is the most

effective defense against ransomware and it is critical to take precaution for protection.” 12

        48.       To prevent and detect ransomware attacks, including the ransomware attack that

resulted in the Data Breach, Defendant could and should have implemented, as recommended by

the United States Government, the following measures:



9
  Id.
10
   2019 HIMSS Cybersecurity Survey, https://www.himss.org/2019-himsscybersecurity-survey.
11
    Aaron Jensen, Healthcare Phishing Statistics: 2019 HIMSS Survey Results, PROOFPOINT (Mar. 27, 2019),
https://www.proofpoint.com/us/security-awareness/post/healthcare-phishingstatistics-2019-himss-survey-results.
12
    See How to Protect Your Networks from RANSOMWARE, FBI (2016) https ://www. fbi.gov/file-
repository/ransomware-prevention-and-response-for-cisos.pdf/view.

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       Implement an awareness and training program. Because end
        users are targets, employees and individuals should be aware of
        the threat of ransomware and how it is delivered.

       Enable strong spam filters to prevent phishing emails from
        reaching the end users and authenticate inbound email using
        technologies like Sender Policy Framework (SPF), Domain
        Message Authentication Reporting and Conformance
        (DMARC), and DomainKeys Identified Mail (DKIM) to
        prevent email spoofing.

       Scan all incoming and outgoing emails to detect threats and filter
        executable files from reaching end users.

       Configure firewalls to block access to known malicious IP
        addresses.

       Patch operating systems, software, and firmware on devices.
        Consider using a centralized patch management system.

       Set anti-virus and anti-malware programs to conduct regular
        scans automatically.

       Manage the use of privileged accounts based on the principle of
        least privilege; no users should be assigned administrative
        access unless absolutely needed; and those with a need for
        administrator accounts should only use them when necessary.
       Configure access controls—including file, directory, and
        network share permissions—with least privilege in mind. If a
        user only needs to read specific files, the user should not have
        write access to those files, directories, or shares.

       Disable macro scripts from office files transmitted via email.
        Consider using Office Viewer software to open Microsoft Office
        files transmitted via email instead of full office suite
        applications.

       Implement Software Restriction Policies (SRP) or other controls
        to prevent programs from executing from common ransomware
        locations, such as temporary folders supporting popular Internet
        browsers or compression/decompression programs, including
        the AppData/LocalAppData folder.

       Consider disabling Remote Desktop protocol (RDP) if it is not
        being used.


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                 Use application whitelisting, which only allows systems to
                  execute programs known and permitted by security policy.

                 Execute operating system environments or specific programs in
                  a virtualized environment.

                 Categorize data based on organizational value and implement
                  physical and logical separation of networks and data for
                  different organizational units.

       49.    To prevent and detect ransomware attacks, including the ransomware attack that

resulted in the Data Breach, Defendants could and should have implemented, as recommended by

the United States Government, the following measures:

                 Update and patch your computer. Ensure your applications
                  and operating systems (OSs) have been updated with the latest
                  patches. Vulnerable applications and OSs are the target of most
                  ransomware attacks . . .

                 Use caution with links and when entering website addresses.
                  Be careful when clicking directly on links in emails, even if the
                  sender appears to be someone you know. Attempt to
                  independently verify website addresses (e.g., contact your
                  organization's helpdesk, search the internet for the sender
                  organization's website or the topic mentioned in the email). Pay
                  attention to the website addresses you click on, as well as those
                  you enter yourself. Malicious website addresses often appear
                  almost identical to legitimate sites, often using a slight variation
                  in spelling or a different domain (e.g., .com instead of .net) . . .

                 Open email attachments with caution. Be wary of opening
                  email attachments, even from senders you think you know,
                  particularly when attachments are compressed files or ZIP files.

                 Keep your personal information safe. Check a website's
                  security to ensure the information you submit is encrypted
                  before you provide it . . .

                 Verify email senders. If you are unsure whether or not an email
                  is legitimate, try to verify the email's legitimacy by contacting
                  the sender directly. Do not click on any links in the email. If
                  possible, use a previous (legitimate) email to ensure the contact
                  information you have for the sender is authentic before you
                  contact them.

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                  Inform yourself. Keep yourself informed about recent
                   cybersecurity threats and up to date on ransomware techniques.
                   You can find information about known phishing attacks on the
                   Anti-Phishing Working Group website. You may also want to
                   sign up for CISA product notifications, which will alert you
                   when a new Alert, Analysis Report, Bulletin, Current Activity,
                   or Tip has been published.

                  Use and maintain preventative software programs. Install
                   antivirus software, firewalls, and email filters—and keep them
                   updated—to reduce malicious network traffic . . . 13

       50.     To prevent and detect ransomware attacks, including the ransomware attack that

resulted in the Data Breach, Defendant could and should have implemented, as recommended by

the Microsoft Threat Protection Intelligence Team, the following measures:

               -   Secure internet-facing assets
                       Apply the latest security updates
                       Use threat and vulnerability management
                       Perform regular audit; remove privilege
                         credentials;

               -   Thoroughly investigate and remediate alerts
                       Prioritize and treat commodity malware
                         infections as potential full compromise

               -   Include IT Pros in security discussions
                       Ensure      collaboration     among      [security
                         operations], [security admins], and [information
                         technology] admins to configure servers and
                         other endpoints securely;

               -   Build credential hygiene
                       use [multifactor authentication] or [network level
                          authentication] and use strong, randomized, just-
                          in-time local admin passwords

               -   Apply principle of least-privilege
                      Monitor for adversarial activities
                      Hunt for brute force attempts

13
  See Security Tip (ST19-001) Protecting Against Ransomware, CYBERSECURITY & INFRASTRUCTURE SECURITY
AGENCY (Apr. 11, 2019), https://us-cert.cisa.gov/ncas/tips/ST19-001.

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                            Monitor for cleanup of Event Logs
                            Analyze logon events

                -   Harden infrastructure
                        Use Windows Defender Firewall
                        Enable tamper protection
                        Enable cloud-delivered protection
                        Turn on attack surface reduction rules and
                          [Antimalware Scan Interface] for Office [Visual
                          Basic for Applications].14

        51.     These are basic, common-sense email security measures that every business, not

only healthcare businesses, should be doing. ReproSource, with its heightened standard of care

should be doing even more.            But by adequately taking these common-sense measures,

ReproSource could have prevented this Data Breach from occurring.

        52.     Charged with handling sensitive PII including healthcare information, ReproSource

knew, or should have known, the importance of safeguarding its customers’ Private Information

that was entrusted to it and of the foreseeable consequences if its data security systems were

breached. This includes the significant costs that would be imposed on ReproSource’s patients as

a result of a breach. ReproSource failed, however, to take adequate cybersecurity measures to

prevent the Data Breach from occurring.

        53.     With respect to training, ReproSource specifically failed to:

                •   Implement a variety of anti-ransomware training tools, in
                    combination, such as computer-based training, classroom
                    training, monthly newsletters, posters, login alerts, email alerts,
                    and team-based discussions;

                •   Perform regular training at defined intervals such as bi-annual
                    training and/or monthly security updates; and




14
  See Human-operated ransomware attacks: A preventable disaster, MICROSOFT (Mar. 5, 2020),
https://www.microsoft.com/security/blog/2020/03/05/human-operated-ransomware-attacks-apreventable-
disaster/.

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                 •    Craft and tailor different approaches to different employees
                      based on their base knowledge about technology and
                      cybersecurity.

        54.      The PII was also maintained on ReproSpurce’s computer system in a condition

vulnerable to cyberattacks such as through the infiltration of Defendant’s systems through

ransomware attacks. The mechanism of the cyberattack and the potential for improper disclosure

of Plaintiff’s and Class members’ PII was a known risk to ReproSource, and thus ReproSource

was on notice that failing to take reasonable steps necessary to secure the PII from those risks left

the PII in a vulnerable position.

C.      The Monetary Value of Privacy Protections and Private Information

        55.      The fact that Plaintiff’s and Class members’ Private Information was stolen—and

is likely presently being offered for sale to cyber criminals—demonstrates the monetary value of

the Private Information.

        56.      At all relevant times, Defendant was well aware that Private Information it collects

from Plaintiff and Class members is highly sensitive and of significant value to those who would

use it for wrongful purposes.

        57.      Private Information is a valuable commodity to identity thieves. As the FTC

recognizes, identity thieves can use this information to commit an array of crimes including

identify theft, and medical and financial fraud. 15 Indeed, a robust “cyber black market” exists in

which criminals openly post stolen PII including sensitive health information on multiple

underground Internet websites, commonly referred to as the dark web.

        58.       At an FTC public workshop in 2001, then-Commissioner Orson Swindle described

the value of a consumer’s personal information:


15
       Federal   Trade     Commission,       Warning      Signs      of     Identity   Theft   (Sept.   2018),
https://www.consumer.ftc.gov/articles/0271-warning-signs-identity-theft .

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                 The use of third party information from public records, information
                 aggregators and even competitors for marketing has become a major
                 facilitator of our retail economy. Even [Federal Reserve] Chairman
                 [Alan] Greenspan suggested here some time ago that it’s something
                 on the order of the life blood, the free flow of information. 16

        59.      Commissioner Swindle’s 2001 remarks are even more relevant today, as

consumers’ personal data functions as a “new form of currency” that supports a $26 Billion per

year online advertising industry in the United States. 17

        60.      The FTC has also recognized that consumer data is a new (and valuable) form of

currency. In an FTC roundtable presentation, another former Commissioner, Pamela Jones

Harbour, underscored this point:

                 Most consumers cannot begin to comprehend the types and amount
                 of information collected by businesses, or why their information
                 may be commercially valuable. Data is currency. The larger the data
                 set, the greater potential for analysis—and profit. 18


        61.      Recognizing the high value that consumers place on their Private Information,

many companies now offer consumers an opportunity to sell this information. 19 The idea is to

give consumers more power and control over the type of information that they share and who

ultimately receives that information. And, by making the transaction transparent, consumers will

make a profit from their Private Information. This business has created a new market for the sale

and purchase of this valuable data.




16 Public Workshop: The Information Marketplace: Merging and Exchanging Consumer Data, FED. TRADE
COMM’N Tr. at 8:2-8 (Mar. 13, 2001), https://www.ftc.gov/sites/default/files/documents/public_events/information-
marketplace-merging-and-exchanging-consumer-data/transcript.pdf.
17
   See Julia Angwin & Emily Steel, Web’s Hot New Commodity: Privacy, The Wall Street Journal (Feb. 28, 2011),
http://online.wsj.com/article/SB100014240527487035290 [hereinafter Web’s New Hot Commodity].
18
   Statement of FTC Commissioner Pamela Jones Harbour—Remarks Before FTC Exploring Privacy Roundtable,
FED. TRADE COMM’N (Dec. 7, 2009), https://www.ftc.gov/sites/default/files/documents/public_
statements/remarks-ftc-exploring-privacy-roundtable/091207privacyroundtable.pdf.
19 Web’s Hot New Commodity, supra note 17.

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         62.      Consumers place a high value not only on their Private Information, but also on the

privacy of that data. Researchers have begun to shed light on how much consumers value their

data privacy, and the amount is considerable. Indeed, studies confirm that the average direct

financial loss for victims of identity theft in 2014 was $1,349. 20

         63.      The value of Plaintiff’s and Class members’ Private Information on the black

market is substantial. Sensitive health information can sell for as much as $363. 21 This information

is particularly valuable because criminals can use it to target victims with frauds and scams that

take advantage of the victim’s medical conditions or victim settlements. It can be used to create

fake insurance claims, allowing for the purchase and resale of medical equipment, or gain access

to prescriptions for illegal use or resale.

         64.      Medical identity theft can result in inaccuracies in medical records and costly false

claims. It can also have life-threatening consequences. If a victim’s health information is mixed

with other records, it can lead to misdiagnosis or mistreatment. “Medical identity theft is a growing

and dangerous crime that leaves its victims with little to no recourse for recovery,” reported Pam

Dixon, executive director of World Privacy Forum. “Victims often experience financial

repercussions and worse yet, they frequently discover erroneous information has been added to

their personal medical files due to the thief’s activities.”22

         65.      The ramifications of ReproSource’s failure to keep its patients’ Private Information

secure are long-lasting and severe. Once Private Information is stolen, fraudulent use of that




20 See U.S. Dep’t of Justice, Victims of Identity Theft, OFFICE OF JUSTICE PROGRAMS: BUREAU OF JUSTICE
STATISTICS 1 (Nov. 13, 2017), https://www.bjs.gov/content/pub/pdf/vit14.pdf [hereinafter Victims of Identity Theft].
21
   Center for Internet Security, Data Breaches: In the Healthcare Sector, https://www.cisecurity.org/blog/data-
breaches-in-the-healthcare-sector/.
22
   Michael Ollove, The Rise of Medical Identity Theft in Healthcare, KAISER (Feb. 7, 2014) https://khn.org/news/rise-
of-indentity-theft/.

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information and damage to victims may continue for years. Fraudulent activity might not show up

for 6 to 12 months or even longer.

        66.      Approximately 21% of victims do not realize their identify has been compromised

until more than two years after it has happened.23 This gives thieves ample time to seek multiple

treatments under the victim’s name. Forty percent of consumers found out they were a victim of

medical identity theft only when they received collection letters from creditors for expenses that

were incurred in their names.24

        67.      Breaches are particularly serious in healthcare industries. The healthcare sector

reported the second largest number of breaches among all measured sectors in 2018, with the

highest rate of exposure per breach. 25 Indeed, when compromised, healthcare related data is among

the most private and personally consequential. A report focusing on healthcare breaches found that

the “average total cost to resolve an identity theft-related incident . . . came to about $20,000,” and

that the victims were often forced to pay out-of-pocket costs for healthcare they did not receive in

order to restore coverage.26 Almost 50% of the surveyed victims lost their healthcare coverage as

a result of the incident, while nearly 30% said their insurance premiums went up after the event.

Forty percent of the victims were never able to resolve their identity theft at all. Seventy-four

percent said that the effort to resolve the crime and restore their identity was significant or very

significant. Data breaches and identity theft have a crippling effect on individuals and

detrimentally impact the economy as a whole. 27


23
   See Medical ID Theft Checklist, IDENTITYFORCE https://www.identityforce.com/blog/medical-id-theft-checklist-2.
24
   The Potential Damages and Consequences of Medical Identify Theft and Healthcare Data Breaches, EXPERIAN,
(Apr.        2010),       https://www.experian.com/assets/data-breach/white-papers/consequences-medical-id-theft-
healthcare.pdf.
25
   Identity Theft Resource Center, 2018 End-of-Year Data Breach Report, (2019) https://www.idtheftcenter.org/wp-
content/uploads/2019/02/ITRC_2018-End-of-Year-Aftermath_FINAL_V2_combinedWEB.pdf.
26
     Elinor Mills, Study: Medical identity theft is costly for victims, CNET (March 3, 2010),
https://www.cnet.com/news/study-medical-identity-theft-is-costly-for- victims/.
27
   Id.

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        68.      At all relevant times, Defendant was well-aware, or reasonably should have been

aware, that the Private Information it maintains is highly sensitive and could be used for wrongful

purposes by third parties, such as identity theft and fraud. Defendant should have particularly been

aware of these risks, given the significant number of data breaches affecting the health care

industry and related industries.

        69.      Had Defendant remedied the deficiencies in its security systems, followed industry

guidelines, and adopted security measures recommended by experts in the field, Defendant would

have prevented the ransomware attack into its systems and, ultimately, the theft of its customers’

Private Information.

        70.      The compromised Private Information in the Data Breach is of great value to

hackers and thieves and can be used in a variety of ways. Information about, or related to, an

individual for which there is a possibility of logical association with other information is of great

value to hackers and thieves. Indeed, “there is significant evidence demonstrating that

technological advances and the ability to combine disparate pieces of data can lead to identification

of a consumer, computer or device even if the individual pieces of data do not constitute PII.” 28

For example, different PII elements from various sources may be able to be linked in order to

identify an individual, or access additional information about or relating to the individual. 29 Based

upon information and belief, the unauthorized parties utilized the Private Information they

obtained through the Data Breach to obtain additional information from Plaintiff and Class

members that was misused.



  28
     Protecting Consumer Privacy in an Era of Rapid Change: A Proposed Framework for Businesses and
  Policymakers, Preliminary FTC Staff Report, FED. TRADE COMM’N 35-38 (Dec. 2010),
  https://www.ftc.gov/reports/preliminary-ftc-staff-report-protecting-consumer-privacy-era-rapid-change-
  proposed-framework.
  29
     See id. (evaluating privacy framework for entities collecting or using consumer data with can be “reasonably
  linked to a specific consumer, computer, or other device”).

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       71.     In addition, as technology advances, computer programs may scan the Internet with

wider scope to create a mosaic of information that may be used to link information to an individual

in ways that were not previously possible. This is known as the “mosaic effect.”

       72.     Names and dates of birth, combined with contact information like telephone

numbers and email addresses, are very valuable to hackers and identity thieves as it allows them

to access users’ other accounts. Thus, even if payment card information were not involved in the

Data Breach, the unauthorized parties could use Plaintiff’s and Class members’ Private

Information to access accounts, including, but not limited to email accounts and financial accounts,

to engage in the fraudulent activity identified by Plaintiff.

       73.     Given these facts, any company that transacts business with customers and then

compromises the privacy of customers’ Private Information has thus deprived customers of the

full monetary value of their transaction with the company.

       74.     Acknowledging the damage to Plaintiff and Class members, Defendant instructed

customers like Plaintiff to “remain vigilant by reviewing account statements and monitoring your

credit report for unauthorized activity, especially activity that may indicate fraud and identity

theft.” Plaintiff and the other Class members now face a greater risk of identity theft.

       75.     In short, the Private Information exposed is of great value to hackers and cyber

criminals and the data compromised in the Data Breach can be used in a variety of unlawful

manners, including opening new credit and financial accounts in users’ names.

D.     ReproSource’s Conduct violated HIPPA

       76.     HIPAA requires covered entities like ReproSource protect against reasonably

anticipated threats to the security of PHI. Covered entities must implement safeguards to ensure




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the confidentiality, integrity, and availability of PHI. Safeguards must include physical, technical,

and administrative components.30

       77.     Title II of HIPAA contains what are known as the Administrative Simplification

provisions. 42 U.S.C. §§ 1301, et seq. These provisions require, among other things, that the

Department of Health and Human Services (“HHS”) create rules to streamline the standards for

handling Private Information like the data Defendant left unguarded. The HHS has subsequently

promulgated five rules under authority of the Administrative Simplification provisions of HIPAA.

       78.     The HIPAA Breach Notification Rule, 45 CFR §§ 164.400-414, also required

Defendant to provide notice of the breach to each affected individual “without unreasonable delay

and in no case later than 60 days following discovery of the breach.” 31

       79.     Defendant’s Data Breach resulted from a combination of insufficiencies that

demonstrate Defendant failed to comply with safeguards mandated by HIPAA regulations.

ReproSource’s security failures include, but are not limited to, the following:

                  Failing to ensure the confidentiality and integrity of electronic
                   protected health information that Defendant creates, receives,
                   maintains, and transmits in violation of 45 C.F.R.
                   §164.306(a)(1);

                  Failing to implement technical policies and procedures for
                   electronic information systems that maintain electronic
                   protected health information to allow access only to those
                   persons or software programs that have been granted access
                   rights in violation of 45 C.F.R. §164.312(a)(1);

                  Failing to implement policies and procedures to prevent, detect,
                   contain, and correct security violations in violation of 45 C.F.R.
                   §164.308(a)(1);



30
      What is Considered Protected Health Information Under HIPAA?, HIPPA JOURNAL,
https://www.hipaajournal.com/what-is-considered-protected-health-information-under-hipaa/.
31
    Breach Notification Rule, U.S. DEP’T HEALTH & HUMAN SERVS., https://www.hhs.gov/hipaa/for-
professionals/breach-notification/index.html.

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                 Failing to identify and respond to suspected or known security
                  incidents; mitigate, to the extent practicable, harmful effects of
                  security incidents that are known to the covered entity in
                  violation of 45 C.F.R. §164.308(a)(6)(ii);

                 Failing to protect against any reasonably-anticipated threats or
                  hazards to the security or integrity of electronic protected health
                  information in violation of 45 C.F.R. §164.306(a)(2);

                 Failing to protect against any reasonably anticipated uses or
                  disclosures of electronically protected health information that
                  are not permitted under the privacy rules regarding individually
                  identifiable health information in violation of 45 C.F.R.
                  §164.306(a)(3);

                 Failing to ensure compliance with HIPAA security standard
                  rules by their workforce in violation of 45 C.F.R.
                  §164.306(a)(94);

                 Impermissibly and improperly using and disclosing protected
                  health information that is and remains accessible to unauthorized
                  persons in violation of 45 C.F.R. §164.502, et seq.;

                 Failing to effectively train all members of their workforce
                  (including independent contractors) on the policies and
                  procedures with respect to protected health information as
                  necessary and appropriate for the members of their workforce to
                  carry out their functions and to maintain security of protected
                  health information in violation of 45 C.F.R. §164.530(b) and 45
                  C.F.R. §164.308(a)(5); and

                 Failing to design, implement, and enforce policies and
                  procedures establishing physical and administrative safeguards
                  to reasonably safeguard protected health information, in
                  compliance with 45 C.F.R. §164.530(c).

E.     ReproSource Failed to Comply with FTC Guidelines

       80.    ReproSource was also prohibited by the Federal Trade Commission Act (“FTC

Act”) (15 U.S.C. §45) from engaging in “unfair or deceptive acts or practices in or affecting

commerce.” The Federal Trade Commission (“FTC”) has concluded that a company’s failure to

maintain reasonable and appropriate data security for consumers’ sensitive personal information


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is an “unfair practice” in violation of the FTC Act. See, e.g., FTC v. Wyndham Worldwide Corp.,

799 F.3d 236 (3d Cir. 2015).

        81.      The FTC has promulgated numerous guides for businesses that highlight the

importance of implementing reasonable data security practices. According to the FTC, the need

for data security should be factored into all business decision-making. 32

        82.      In 2016, the FTC updated its publication, Protecting Personal Information: A Guide

for Business, which established cybersecurity guidelines for businesses. 33 The guidelines note that

businesses should protect the personal customer information that they keep; properly dispose of

personal information that is no longer needed; encrypt information stored on computer networks;

understand their network’s vulnerabilities; and implement policies to correct any security

problems.

        83.      The FTC further recommends that companies not maintain Private Information

longer than is needed for authorization of a transaction; limit access to private data; require

complex passwords to be used on networks; use industry-tested methods for security; monitor for

suspicious activity on the network; and verify that third-party service providers have implemented

reasonable security measures.34

        84.      The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect customer data, treating the failure to employ reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data as an

unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act (“FTCA”), 15



32
      Start With Security: A Guide for Business, FED. TRADE. COMM’N (June 2015),
https://www.ftc.gov/system/files/documents/plain-language/pdf0205-startwithsecurity.pdf [hereinafter Start with
Security].
33
     Protecting Personal Information: A Guide for Business, FED. TRADE. COMM’M (Oct. 2016),
https://www.ftc.gov/system/files/documents/plain-language/pdf- 0136_proteting-personal-information.pdf.
34
   Start with Security, supra note 32.

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U.S.C. § 45. Orders resulting from these actions further clarify the measures businesses must take

to meet their data security obligations.

        85.     ReproSource was at all times fully aware of its obligation to protect the Private

Information of patients because of its position as a trusted healthcare provider. ReproSource was

also aware of the significant repercussions that would result from its failure to do so.

F.      ReproSource Failed to Comply with Healthcare Industry Standards

        86.     HHS’s Office for Civil Rights has stated:

                While all organizations need to implement policies, procedures, and
                technical solutions to make it harder for hackers to gain access to their
                systems and data, this is especially important in the healthcare industry.
                Hackers are actively targeting healthcare organizations, as they store
                large quantities of highly Private and valuable data.35


        87.     HHS highlights several basic cybersecurity safeguards that can be implemented to

improve cyber resilience that require a relatively small financial investment yet can have a major

impact on an organization’s cybersecurity posture including: (a) the proper encryption of Private

Information; (b) educating and training healthcare employees on how to protect Private

Information; and (c) correcting the configuration of software and network devices.

        88.     Private cybersecurity firms have also identified the healthcare sector as being

particularly vulnerable to cyber-attacks, both because the of the value of the Private Information

which they maintain and because as an industry they have been slow to adapt and respond to

cybersecurity threats.36 They too have promulgated similar best practices for bolstering

cybersecurity and protecting against the unauthorized disclosure of Private Information.



35
    Cybersecurity Best Practices for Healthcare Organizations, HIPAA JOURNAL (Nov. 1, 2018),
https://www.hipaajournal.com/important-cybersecurity-best-practices-for-healthcare-organizations/.
36
         See,      e.g.,      10      Best       Practices      For       Healthcare    Security,  INFOSEC,
https://resources.infosecinstitute.com/topics/healthcare-information-security/#gref.

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        89.      Despite the abundance and availability of information regarding cybersecurity best

practices for the healthcare industry, ReproSource chose to ignore them. These best practices were

known, or should have been known by ReproSource, whose failure to heed and properly

implement them directly led to the Data Breach and the unlawful exposure of Private Information.

G.      Damages to Plaintiff and the Class

        90.      Plaintiff and the Class have been damaged by the compromise of their Private

Information in the Data Breach.

        91.      The ramifications of ReproSource’s failure to keep patients’ Private Information

secure are long lasting and severe. Once Private Information is stolen, fraudulent use of that

information and damage to the victims may continue for years. Consumer victims of data breaches

are more likely to become victims of identity fraud.37

        92.      In addition to their obligations under state laws and regulations, Defendant owed a

common law duty to Plaintiff and class members to protect Private Information entrusted to it,

including to exercise reasonable care in obtaining, retaining, securing, safeguarding, deleting, and

protecting the Private Information in its possession from being compromised, lost, stolen,

accessed, and misused by unauthorized parties.

        93.      Defendant further owed and breached its duty to Plaintiffs and Class members to

implement processes and specifications that would detect a breach of its security systems in a

timely manner and to timely act upon warnings and alerts, including those generated by its own

security systems.

        94.      As a direct result of Defendant’s intentional, willful, reckless, and negligent

conduct which resulted in the Data Breach, unauthorized parties were able to access, acquire, view,


37
        2014    LexisNexis      True    Cost       of     Fraud     Study,   LEXISNEXIS   (Aug.   2014),
https://www.lexisnexis.com/risk/downloads/assets/true-cost-fraud-2014.pdf.

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publicize, and/or otherwise cause the identity theft and misuse to Plaintiff’s and Class members’

Private Information as detailed above, and Plaintiffs are now at a heightened and increased risk of

identity theft and fraud.

       95.     The risks associated with identity theft are serious. While some identity theft

victims can resolve their problems quickly, others spend hundreds of dollars and many days

repairing damage to their good name and credit record. Some consumers victimized by identity

theft may lose out on job opportunities, or be denied loans for education, housing or cars because

of negative information on their credit reports. In rare cases, they may even be arrested for crimes

they did not commit.

       96.     Some of the risks associated with the loss of personal information have already

manifested themselves in Plaintiff’s case. Plaintiff received a cryptically written notice letter from

Defendant stating that her information was released, and that she should remain vigilant for

fraudulent activity on her accounts, with no other explanation of where this information could have

gone, or who might have access to it. Plaintiff has already spent hours on the phone trying to

determine what negative effects may occur from the loss of her personal information.

       97.     In addition to spending time on the phone with representatives from ReproSource

and monitoring her credit accounts, Plaintiff has also decided to forgo further treatment at facilities

that use ReproSource services. Plaintiff values her privacy and would prefer not to do business

with a company that stores her data using insufficient security measures.

       98.     Plaintiff and the Class have suffered or face a substantial risk of suffering out-of-

pocket fraud losses such as fraudulent charges on online accounts, credit card fraud, loans opened

in their names, medical services billed in their names, and identity theft.




                                                      29
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        99.     Plaintiff and Class members have, may have, and/or will have incurred out of

pocket costs for protective measures such as credit monitoring fees, credit report fees, credit freeze

fees, and similar costs directly or indirectly related to the Data Breach.

        100.    Plaintiff and Class members did not receive the full benefit of the bargain, and

instead received services that were of a diminished value to those described in their agreements

with ReproSource. They were damaged in an amount at least equal to the difference in the value

between the services with data security protection they paid for and the services they received.

        101.    Plaintiff and Class members would not have obtained services from Defendant had

Defendant told them that it failed to properly train its employees, lacked safety controls over its

computer network, and did not have proper data security practices to safeguard their Private

Information from theft.

        102.    Plaintiff and the Class will continue to spend significant amounts of time to monitor

their financial and medical accounts for misuse.

        103.    The theft of Social Security Numbers, which were purloined as part of the Data

Breach, is particularly detrimental to victims. The U.S. Social Security Administration (“SSA”)

warns that “[i]dentity theft is one of the fastest growing crimes in America.” 38 The SSA has stated

that “[i]dentity thieves can use your number and your good credit to apply for more credit in your

name. Then, they use the credit cards and don’t pay the bills, it damages your credit. You may

not find out that someone is using your number until you’re turned down for credit, or you begin

to get calls from unknown creditors demanding payment for items you never bought.” 39 In short,




38 Identity Theft And Your Social Security Number, SOCIAL SECURITY ADMIN. (Dec. 2013),
http://www.ssa.gov/pubs/EN-05-10064.pdf.
39
   Id.

                                                         30
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“[s]omeone illegally using your Social Security number and assuming your identity can cause a

lot of problems.”40

           104.   In fact, a new Social Security number is substantially less effective where “other

personal information, such as [the victim’s] name and address, remains the same” and for some

victims, “a new number actually creates new problems. If the old credit information is not

associated with your new number, the absence of any credit history under your new number may

make it more difficult for you to get credit.” 41

           105.   Identity thieves can use the victim’s Private Information to commit any number of

frauds, such as obtaining a job, procuring housing, or even giving false information to police during

an arrest. In the healthcare industry context, Private Information can be used to submit false

insurance claims. As a result, Plaintiff and Class members now face a real and continuing

immediate risk of identity theft and other problems associated with the disclosure of their Social

Security numbers and will need to monitor their credit for an indefinite duration. For Plaintiff and

Class members, this risk creates unending feelings of fear and annoyance. Private information is

especially valuable to identity thieves.       Defendant knew or should have known this and

strengthened its data systems accordingly. Defendant was put on notice of the substantial and

foreseeable risk of harm from a data breach, yet it failed to properly prepare for that risk.

           106.   As a result of the Data Breach, Plaintiff’s and Class members’ Private Information

has diminished in value.

           107.   The Private Information belonging to Plaintiff and Class members is private and

was left inadequately protected by Defendant who did not obtain Plaintiff’s or Class members’

consent to disclose such Private Information to any other person as required by applicable law and


40
     Id.
41
     Id.

                                                      31
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industry standards. Defendant disclosed information about Plaintiff and the Class that was of an

extremely personal and sensitive nature as a direct result of its inadequate security measures.

       108.     The Data Breach was a direct and proximate result of Defendant’s failure to: (a)

properly safeguard and protect Plaintiff’s and Class members’ Private Information from

unauthorized access, use, and disclosure, as required by various state and federal regulations,

industry practices, and common law; (b) establish and implement appropriate administrative,

technical, and physical safeguards to ensure the security and confidentiality of Plaintiffs’ and Class

members’ Private Information; and (c) protect against reasonably foreseeable threats to the

security or integrity of such information.

       109.    Defendant had the resources necessary to prevent the Data Breach, but neglected to

adequately implement data security measures, despite its obligation to protect customer data.

       110.    Defendant did not properly train its employees to identify and avoid ransomware

attacks.

       111.    Had Defendant remedied the deficiencies in its data security systems and adopted

security measures recommended by experts in the field, it would have prevented the intrusions into

its systems and, ultimately, the theft of Plaintiff’s and Class members’ Private Information.

       112.    As a direct and proximate result of Defendant’s wrongful actions and inactions,

Plaintiff and Class members have been placed at an imminent, immediate, and continuing

increased risk of harm from identity theft and fraud, requiring them to take the time which they

otherwise would have dedicated to other life demands such as work and family in an effort to

mitigate the actual and potential impact of the Data Breach on their lives.

       113.    The U.S. Department of Justice’s Bureau of Justice Statistics found that “among

victims who had personal information used for fraudulent purposes, twenty-nine percent spent a



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month or more resolving problems” and that “resolving the problems caused by identity theft

[could] take more than a year for some victims.” 42

        114.     Other than offering 12 months of credit monitoring, Defendant did not take any

measures to assist Plaintiff and Class members other than telling them to simply do the following:

                        remain vigilant for incidents of fraud and identity theft;

                        review account statements and monitor credit reports for
                         unauthorized activity;

                         obtain a copy of free credit reports;

                         contact the FTC and/or the state Attorney General’s office;

                         enact a security freeze on credit files; and

                        create a fraud alert.

None of these recommendations, however, require Defendant to expend any effort to protect

Plaintiff’s and Class members’ Private Information.

        115.     Defendant’s failure to adequately protect Plaintiff and Class members’ Private

Information has resulted in Plaintiff and Class members having to undertake these tasks, which

require extensive amounts of time, calls, and, for many of the credit and fraud protection services,

payment of money–while Defendant sits by and does nothing to assist those affected by the

incident. Instead, as ReproSource’s Data Breach Notice indicates, it is putting the burden on

Plaintiff and Class members to discover possible fraudulent activity and identity theft.

        116.     While Defendant offered one year of credit monitoring, Plaintiff could not trust a

company that had already breached her data. The credit monitoring offered from Kroll does not

guarantee privacy or data security for Plaintiff who would have to expose her information once


42
  See U.S. Dep’t of Justice, Victims of Identity Theft, OFFICE OF JUSTICE PROGRAMS: BUREAU OF JUSTICE STATISTICS
1 (Nov. 13, 2017), https://www.bjs.gov/content/pub/pdf/vit14.pdf [hereinafter Victims of Identity Theft].


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more to get monitoring services. Thus, to mitigate harm, Plaintiff and Class members are now

burdened with indefinite monitoring and vigilance of their accounts.

        117.     Moreover, the offer of 12 months of identity monitoring to Plaintiffs and Class

Members is woefully inadequate. While some harm has begun already, the worst may be yet to

come. There may be a time lag between when harm occurs versus when it is discovered and also

between when Private Information is acquired and when it is used. Furthermore, identity

monitoring only alerts someone to the fact that they have already been the victim of identity theft

(i.e., fraudulent acquisition and use of another person’s Private Information) – it does not prevent

identity theft.43 This is especially true for many kinds of medical identity theft, for which most

credit monitoring plans provide little or no monitoring or protection.

        118.     Plaintiff and Class members have been damaged in several other ways as well.

Plaintiff and Class members have been exposed to an impending, imminent, and ongoing increased

risk of fraud, identity theft, and other misuse of their Private Information. Plaintiff and Class

members must now and indefinitely closely monitor their financial and other accounts to guard

against fraud. This is a burdensome and time-consuming activity. Plaintiff and Class members

have also purchased credit monitoring and other identity protection services, purchased credit

reports, placed credit freezes and fraud alerts on their credit reports, and spent time investigating

and disputing fraudulent or suspicious activity on their accounts. Plaintiff and Class members also

suffered a loss of the inherent value of their Private Information.

        119.     The Private Information stolen in the Data Breach can be misused on its own or can

be combined with personal information from other sources such as publicly available information,



43
  See, e.g., Kayleigh Kulp, Credit Monitoring Services May Not Be Worth the Cost, CNBC (Nov. 30, 2017),
https://www.cnbc.com/2017/11/29/credit-monitoring-services-may-not-beworth-the-cost.html.


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social media, etc. to create a package of information capable of being used to commit further

identity theft. Thieves can also use the stolen Private Information to send spear-phishing emails to

Class members to trick them into revealing sensitive information. Lulled by a false sense of trust

and familiarity from a seemingly valid sender (for example Wells Fargo, Amazon, or a government

entity), the individual agrees to provide sensitive information requested in the email, such as login

credentials, account numbers, and the like.

       120.    As a result of Defendant’s failures to prevent the Data Breach, Plaintiff and Class

members have suffered, will suffer, and are at increased risk of suffering:

                  The compromise, publication, theft and/or unauthorized use of
                   their Private Information;

                  Out-of-pocket costs associated with the prevention, detection,
                   recovery and remediation from identity theft or fraud;

                  Lost opportunity costs and lost wages associated with efforts
                   expended and the loss of productivity from addressing and
                   attempting to mitigate the actual and future consequences of
                   the Data Breach, including but not limited to efforts spent
                   researching how to prevent, detect, contest and recover from
                   identity theft and fraud;

                  The continued risk to their Private Information, which remains
                   in the possession of Defendant and is subject to further
                   breaches so long as Defendant fails to undertake appropriate
                   measures to protect the Private Information in its possession;

                  Current and future costs in terms of time, effort and money that
                   will be expended to prevent, detect, contest, remediate and
                   repair the impact of the Data Breach for the remainder of the
                   lives of Plaintiff and Class members; and

                  Anxiety and distress resulting fear of misuse of their Private
                   Information.




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       121.    In addition to a remedy for the economic harm, Plaintiff and Class members

maintain an undeniable interest in ensuring that their Private Information remains secure and is

not subject to further misappropriation and theft.

                               CLASS ACTION ALLEGATIONS

       122.    Plaintiff brings this action individually and on behalf of all other persons similarly

situated (the “Class”) pursuant to Federal Rule of Civil Procedure 23.

       123.    Plaintiff proposes the following Class definition subject to amendment based on

information obtained through discovery:

               All persons whose Private Information was compromised as a result
               of the Data Breach discovered on or about August 10, 2021 and who
               were sent notice of the Data Breach.

Excluded from the Class are Defendant and Defendant’s affiliates, parents, subsidiaries,

employees, officers, agents, and directors. Also excluded are any judicial officers presiding over

this matter and the members of their immediate families and judicial staff.

       124.    Certification of Plaintiff’s claims for class-wide treatment is appropriate because

Plaintiff can prove the elements of the claims on a class-wide basis using the same evidence as

would be used to prove those elements in individual actions alleging the same claims.

       125.    Numerosity—Federal Rule of Civil Procedure 23(a)(1). The members of the

Class are so numerous that joinder of all Class members would be impracticable. On information

and belief, the Class numbers in the thousands.

       126.    Commonality and Predominance—Federal Rule of Civil Procedure 23(a)(2)

and 23(b)(3). Common questions of law and fact exist as to all members of the Class and

predominate over questions affecting only individual members of the Class. Such common

questions of law or fact include, inter alia:



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                  Whether Defendant’s data security systems prior to and during
                   the Data Breach complied with applicable data security laws and
                   regulations;

                  Whether Defendant’s data security systems prior to and during
                   the Data Breach were consistent with industry standards;

                  Whether Defendant properly implemented its purported security
                   measures to protect Plaintiff’s and the Class’s Private
                   Information from unauthorized capture, dissemination, and
                   misuse;

                  Whether Defendant took reasonable measures to determine the
                   extent of the Data Breach after it first learned of same;

                  Whether Defendant disclosed Plaintiff’s and the Class’s Private
                   Information in violation of the understanding that the Private
                   Information was being disclosed in confidence and should be
                   maintained;

                  Whether Defendant willfully, recklessly, or negligently failed to
                   maintain and execute reasonable procedures designed to prevent
                   unauthorized access to Plaintiff’s and the Class’s Private
                   Information;

                  Whether Defendant was negligent in failing to properly secure
                   and protect Plaintiff’s and the Class’s Private Information;

                  Whether Defendant was unjustly enriched by its actions; and

                  Whether Plaintiff and the other members of the Class are entitled
                   to damages, injunctive relief, or other equitable relief, and the
                   measure of such damages and relief.

       127.    Defendant engaged in a common course of conduct giving rise to the legal rights

sought to be enforced by Plaintiff, on behalf of herself and other members of the Class. Similar or

identical common law violations, business practices, and injuries are involved. Individual

questions, if any, pale by comparison, in both quality and quantity, to the numerous common

questions that predominate in this action.




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       128.    Typicality—Federal Rule of Civil Procedure 23(a)(3). Plaintiff’s claims are

typical of the claims of the other members of the Class because, among other things, all Class

members were similarly injured through Defendant’s uniform misconduct described above and

were thus all subject to the Data Breach alleged herein. Further, there are no defenses available to

Defendant that are unique to Plaintiff.

       129.    Adequacy of Representation—Federal Rule of Civil Procedure 23(a)(4).

Plaintiff is an adequate representative of the Class because her interests do not conflict with the

interests of the Class she seeks to represent, she has retained counsel competent and experienced

in complex class action litigation, and Plaintiff will prosecute this action vigorously. The Class’s

interests will be fairly and adequately protected by Plaintiff and her counsel.

       130.    Injunctive Relief—Federal Rule of Civil Procedure 23(b)(2). Defendant has

acted and/or refused to act on grounds that apply generally to the Class, making injunctive and/or

declaratory relief appropriate with respect to the Class under Fed. Civ. P. 23 (b)(2).

       131.    Superiority—Federal Rule of Civil Procedure 23(b)(3). A class action is

superior to any other available means for the fair and efficient adjudication of this controversy,

and no unusual difficulties are likely to be encountered in the management of this class action.

The damages or other financial detriment suffered by Plaintiff and the other members of the Class

are relatively small compared to the burden and expense that would be required to individually

litigate their claims against Defendant, so it would be impracticable for members of the Class to

individually seek redress for Defendant’s wrongful conduct. Even if members of the Class could

afford individual litigation, the court system could not. Individualized litigation creates a potential

for inconsistent or contradictory judgments and increases the delay and expense to all parties and

the court system. By contrast, the class action device presents far fewer management difficulties



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and provides the benefits of a single adjudication, economy of scale, and comprehensive

supervision by a single court.

                                           COUNT I
                                        NEGLIGENCE
                         (On Behalf of Plaintiff and All Class members)

        132.    Plaintiff fully incorporates by reference all of the above paragraphs, as though fully

set forth herein.

        133.    Upon Defendant’s accepting and storing the Private Information of Plaintiff and the

Class in its computer systems and on its networks, Defendant undertook and owed a duty to

Plaintiff and the Class to exercise reasonable care to secure and safeguard that information and to

use commercially reasonable methods to do so. Defendant knew that the Private Information was

private and confidential and should be protected as private and confidential.

        134.    Defendant owed a duty of care not to subject Plaintiff’s and the Class’s Private

Information to an unreasonable risk of exposure and theft because Plaintiff and the Class were

foreseeable and probable victims of any inadequate security practices.

        135.    Defendant owed numerous duties to Plaintiff and the Class, including the

following:

                   to exercise reasonable care in obtaining, retaining, securing,
                    safeguarding, deleting and protecting Private Information in its
                    possession;

                   to protect Private Information using reasonable and adequate
                    security procedures and systems that are compliant with
                    industry-standard practices; and

                   to implement processes to quickly detect a data breach and to
                    timely act on warnings about data breaches.

        136.    Defendant also breached its duty to Plaintiff and Class members to adequately

protect and safeguard Private Information by disregarding standard information security

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principles, despite obvious risks, and by allowing unmonitored and unrestricted access to

unsecured Private Information. Furthering its dilatory practices, Defendant failed to provide

adequate supervision and oversight of the Private Information with which it was and is entrusted,

in spite of the known risk and foreseeable likelihood of breach and misuse, which permitted a

malicious third party to gather Plaintiff’s and Class members’ Private Information and potentially

misuse the Private Information and intentionally disclose it to others without consent.

       137.    Defendant knew, or should have known, of the risks inherent in collecting and

storing Private Information and the importance of adequate security. Defendant knew or should

have known about numerous well-publicized data breaches within the medical industry.

       138.    Defendant knew, or should have known, that its data systems and networks did not

adequately safeguard Plaintiff’s and Class members’ Private Information.

       139.    Defendant breached its duties to Plaintiff and Class members by failing to provide

fair, reasonable, or adequate computer systems and data security practices to safeguard Plaintiff’s

and Class members’ Private Information.

       140.    Because Defendant knew that a breach of its systems would damage thousands of

its customers, including Plaintiff and Class members, Defendant had a duty to adequately protect

its data systems and the Private Information contained thereon.

       141.    Defendant’s duty of care to use reasonable security measures arose as a result of

the special relationship that existed between Defendant and its customers, which is recognized by

laws and regulations including but not limited to common law. Defendant was in a position to

ensure that its systems were sufficient to protect against the foreseeable risk of harm to Class

members from a data breach.




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       142.    In addition, Defendant had a duty to employ reasonable security measures under

Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits “unfair . . .

practices in or affecting commerce,” including, as interpreted and enforced by the FTC, the unfair

practice of failing to use reasonable measures to protect confidential data.

       143.    Defendant also had a duty under HIPAA privacy laws, which were enacted with

the objective of protecting the confidentiality of clients’ healthcare information and set forth the

conditions under which such information can be used, and to whom it can be disclosed. HIPAA

privacy laws not only apply to healthcare providers and the organizations they work for, but to any

entity that may have access to healthcare information about a patient that—if it were to fall into

the wrong hands—could present a risk of harm to the patient’s finances or reputation.

       144.    Defendant also had a duty under M.G.L., c. 111, § 70E(b) to ensure that all

customers’ medical records and communications are kept confidential.

       145.    Defendant’s duty to use reasonable care in protecting confidential data arose not

only as a result of the statutes and regulations described above, but also because Defendant is

bound by industry standards to protect confidential Private Information.

       146.    Defendant’s own conduct also created a foreseeable risk of harm to Plaintiff and

Class members and their Private Information. Defendant’s misconduct included failing to: (1)

secure Plaintiff’s and Class member’s Private Information; (2) comply with industry standard

security practices; (3) implement adequate system and event monitoring; and (4) implement the

systems, policies, and procedures necessary to prevent this type of data breach.

       147.    Defendant breached its duties, and thus was negligent, by failing to use reasonable

measures to protect Class members’ Private Information, and by failing to provide timely notice




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of the Data Breach. The specific negligent acts and omissions committed by Defendant include,

but are not limited to, the following:

                  Failing to adopt, implement, and maintain adequate security
                   measures to safeguard Class members’ Private Information;

                  Failing to adequately monitor the security of Defendant’s
                   networks and systems;

                  Allowing unauthorized access to Class members’ Private
                   Information;

                  Failing to detect in a timely manner that Class members’ Private
                   Information had been compromised; and

                  Failing to timely notify Class members about the Data Breach
                   so that they could take appropriate steps to mitigate the potential
                   for identity theft and other damages


       148.    Through Defendant’s acts and omissions described in this Complaint, including its

failure to provide adequate security and failure to protect Plaintiff’s and Class members’ Private

Information from being foreseeably captured, accessed, disseminated, stolen and misused,

Defendant unlawfully breached its duty to use reasonable care to adequately protect and secure

Plaintiff’s and Class members’ Private Information during the time it was within Defendant’s

possession or control.

       149.    Defendant’s conduct was grossly negligent and departed from all reasonable

standards of care, including, but not limited to failing to adequately protect the Private Information

and failing to provide Plaintiff and Class members with timely notice that their sensitive Private

Information had been compromised.

       150.    Neither Plaintiff nor the other Class members contributed to the Data Breach and

subsequent misuse of their Private Information as described in this Complaint.



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        151.    As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

members suffered damages as alleged above.

        152.    Plaintiff and Class members are also entitled to injunctive relief requiring

Defendant to, e.g., (i) strengthen data security systems and monitoring procedures; (ii) submit to

future annual audits of those systems and monitoring procedures; and (iii) immediately provide

lifetime free credit monitoring to all Class members.

                                           COUNT II
                                      Breach of Contract
                         (On Behalf of Plaintiff and All Class members)

        153.    Plaintiff fully incorporates by reference all of the above paragraphs, as though fully

set forth herein.

        154.    Plaintiff and other Class members entered into valid and enforceable express

contracts with Defendant under which Plaintiff and other Class members agreed to provide their

Private Information to Defendant, and Defendant agreed to provide testing services and, impliedly,

if not explicitly, agreed to protect Plaintiff’s and Class members’ Private Information.

        155.    These contracts include HIPAA privacy notices and explanation of benefits

documents.

        156.    To the extent Defendant’s obligation to protect Plaintiffs’ and other Class

Members’ Private Information was not explicit in those express contracts, the express contracts

included implied terms requiring Defendant to implement data security adequate to safeguard and

protect the confidentiality of Plaintiffs’ and other Class members’ Private Information, including

in accordance with HIPAA regulations; federal, state and local laws; and industry standards.

Neither Plaintiff nor any Class member would have entered into these contracts with Defendant

without understanding that Plaintiff’s and other Class members’ Private Information would be



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safeguarded and protected; stated otherwise, data security was an essential implied term of the

parties’ express contracts.

       157.    A meeting of the minds occurred, as Plaintiff and other Class members agreed,

among other things, to provide their Private Information in exchange for Defendant’s agreement

to protect the confidentiality of that Private Information.

       158.     The protection of Plaintiff’s and Class members’ Private Information were

material aspects of Plaintiff’s and Class members’ contracts with Defendant.

       159.     Defendant’s promises and representations described above relating to HIPAA and

industry practices, and Defendant’s purported concern about its clients’ privacy rights became

terms of the contracts between Defendant and its clients, including Plaintiff and other Class

members. Defendant breached these promises by failing to comply with HIPAA and reasonable

industry practices.

       160.    Plaintiff and Class members read, reviewed, and/or relied on statements made by

or provided by ReproSource and/or otherwise understood that ReproSource would protect its

patients’ Private Information if that information were provided to ReproSource.

       161.     Plaintiff and Class members fully performed their obligations under the implied

contract with Defendant; however, Defendant did not.

       162.    As a result of Defendant’s breach of these terms, Plaintiff and other Class members

have suffered a variety of damages including but not limited to: the lost value of their privacy; not

getting the benefit of their bargain with Defendant; the lost difference in the value between the

secure health services Defendant promised and the insecure services received; the value of the lost

time and effort required to mitigate the actual and potential impact of the Data Breach on their

lives, including, inter alia, that required to place “freezes” and “alerts” with credit reporting



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agencies, to contact financial institutions, to close or modify financial and medical accounts, to

closely review and monitor credit reports and various accounts for unauthorized activity, and to

file police reports; and Plaintiff and other Class members have been put at increased risk of future

identity theft, fraud, and/or misuse of their Private Information, which may take years to manifest,

discover, and detect.

        163.    Plaintiff and Class members are therefore entitled to damages, including restitution

and unjust enrichment, disgorgement, declaratory and injunctive relief, and attorney fees, costs,

and expenses.

                                         COUNT III
                                  Breach of Implied Contract
        (On Behalf of Plaintiff and All Class members, in the Alternative to Count II)

        164.    Plaintiff fully incorporates by reference all of the above paragraphs, as though fully

set forth herein.

        165.    Through their course of conduct, Defendant, Plaintiff, and class members entered

into implied contracts for the provision of healthcare services, as well as implied contracts for the

Defendant to implement data security adequate to safeguard and protect the privacy of Plaintiff’s

and Class members’ Private Information.

        166.    Specifically, Plaintiff entered into a valid and enforceable implied contract with

Defendant when she first entered into the testing services agreement with Defendant.

        167.    The valid and enforceable implied contracts to provide fertility services that

Plaintiff and Class members entered into with Defendant include Defendant’s promise to protect

nonpublic Private Information given to Defendant or that Defendant created on its own from

disclosure.




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         168.   When Plaintiff and Class members provided their Private Information to Defendant

in exchange for Defendant’s services, they entered into implied contracts with Defendant pursuant

to which Defendant agreed to reasonably protect such information.

         169.   Defendant solicited and invited Class members to provide their Private Information

as part of Defendant’s regular business practices. Plaintiff and Class members accepted

Defendant’s offers and provided their Private Information to Defendant.

         170.   In entering into such implied contracts, Plaintiff and Class members reasonably

believed and expected that Defendant’s data security practices complied with relevant laws and

regulations and were consistent with industry standards.

         171.   Class members who paid money to Defendant reasonably believed and expected

that Defendant would use part of those funds to obtain adequate data security. Defendant failed to

do so.

         172.   Under implied contracts, Defendant and/or its affiliated providers promised and

were obligated to: (a) provide fertility services to Plaintiff and Class members; and (b) protect

Plaintiff’s and Class members’ Private Information provided to obtain the benefits of such

services. In exchange, Plaintiff and Members of the Class agreed to pay money for these services,

and to turn over their Private Information.

         173.   Both the provision of testing services and the protection of Plaintiff’s and Class

members’ Private Information were material aspects of these implied contracts.

         174.   The implied contracts for the provision of fertility testing services—contracts that

include the contractual obligations to maintain the privacy of Plaintiff’s and Class members’

Private Information—are also acknowledged, memorialized, and embodied in multiple documents,




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including (among other documents) Defendant’s Data Breach notification letter and Defendant’s

Notice of Privacy Practices.

       175.    Defendant’s express representations, including, but not limited to the express

representations found in its Notice of Privacy Practices, memorializes and embodies the implied

contractual obligation requiring Defendant to implement data security adequate to safeguard and

protect the privacy of Plaintiff’s and Class members’ Private Information.

       176.    Consumers of fertility testing services value their privacy, the privacy of their

dependents, and the ability to keep confidential their Private Information associated with obtaining

such services. Plaintiff and Class members would not have entrusted their Private Information to

Defendant and entered into these implied contracts with Defendant without an understanding that

their Private Information would be safeguarded and protected, nor would they have entrusted their

Private Information to Defendant in the absence of its implied promise to monitor its computer

systems and networks to ensure that it adopted reasonable data security measures.

       177.    A meeting of the minds occurred, as Plaintiff and Class members agreed and

provided their Private Information to Defendant and/or its affiliated healthcare providers and paid

for the provided testing services in exchange for, among other things, both the provision of

healthcare and the protection of their Private Information.

       178.    Plaintiff and class members performed their obligations under the contract when

they paid for Defendant’s services and provided their Private Information.

       179.    Defendant materially breached its contractual obligation to protect the nonpublic

Private Information Defendant gathered when the information was accessed and exfiltrated by the

Data Breach.




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       180.    Defendant materially breached the terms of the implied contracts, including, but

not limited to, the terms stated in the relevant Notice of Privacy Practices. Defendant did not

maintain the privacy of Plaintiff’s and Class members’ Private Information as evidenced by its

notifications of the Data Breach to Plaintiff and Class members. Specifically, Defendant did not

comply with industry standards, standards of conduct embodied in statutes like Section 5 of the

FTCA, or otherwise protect Plaintiff’s and Class members’ private information as set forth above.

       181.    The Data Breach was a reasonably foreseeable consequence of Defendant’s actions

in breach of these contracts.

       182.    As a result of Defendant’s failure to fulfill the data security protections promised

in these contracts, Plaintiff and Class members did not receive full benefit of the bargain, and

instead received healthcare and other services that were of a diminished value to that described in

the contracts. Plaintiff and Class members, therefore, were damaged in an amount at least equal to

the difference in the value between the healthcare with data security protection they paid for and

the healthcare they received.

       183.    Had Defendant disclosed that its security was inadequate or that it did not adhere

to industry-standard security measures, neither the Plaintiff, Class members, nor any reasonable

person would have purchased healthcare from Defendant and/or its affiliated providers.

       184.    As a direct and proximate result of the Data Breach, Plaintiff and Class members

have been harmed and suffered, and will continue to suffer, actual damages and injuries, including

without limitation the release and disclosure of their Private Information, the loss of control of

their Private Information, the imminent risk of suffering additional damages in the future,

disruption of their medical care and treatment, out of pocket expenses, and the loss of the benefit

of the bargain they had struck with Defendant.



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        185.    Plaintiff and Class members are entitled to compensatory and consequential

damages suffered as a result of the Data Breach.

        186.    Plaintiff and Class members are also entitled to injunctive relief requiring

Defendant to, e.g., (i) strengthen its data security systems and monitoring procedures; (ii) submit

to future annual audits of those systems and monitoring procedures; and (iii) immediately provide

adequate credit monitoring to all class members.

                                          COUNT IV
                                   Breach of Fiduciary Duty
                         (On Behalf of Plaintiff and All Class members)

        187.    Plaintiff fully incorporates by reference all of the above paragraphs, as though fully

set forth herein.

        188.    In providing their Private Information to Defendant, Plaintiff and Class members

justifiably placed a special confidence in Defendant to act in good faith and with due regard for

the interests of Plaintiff and Class members to safeguard and keep confidential that Private

Information.

        189.    Defendant accepted the special confidence Plaintiff and Class members placed in

it, as evidenced by its assertion that it is “committed to protecting the privacy of [Plaintiff’s]

personal information” as included in the Data Breach notification letter.

        190.    In light of the special relationship between Defendant and Plaintiff and Class

members, whereby Defendant became a guardian of Plaintiff’s and Class members’ Private

Information, Defendant became a fiduciary by its undertaking and guardianship of the Private

Information, to act primarily for the benefit of its customers, including Plaintiff and Class members

for the safeguarding of Plaintiff’s and Class members’ Private Information.




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       191.    Defendant has a fiduciary duty to act for the benefit of Plaintiff and Class members

upon matters within the scope of its customer relationships, in particular, to keep secure the Private

Information of its customers.

       192.    Defendant breached its fiduciary duties to Plaintiff and Class members by failing

to protect the integrity of the systems containing Plaintiff’s and Class members’ Private

Information.

       193.    Defendant breached its fiduciary duties to Plaintiff and Class members by otherwise

failing to safeguard Plaintiff’s and Class members’ Private Information.

       194.    As a direct and proximate result of Defendant’s breaches of its fiduciary duties,

Plaintiff and Class members have suffered and will suffer injury, including but not limited to: (i)

actual identity theft; (ii) the compromise, publication, and/or theft of their Private

Information; (iii) out-of-pocket expenses associated with the prevention, detection, and recovery

from identity theft and/or unauthorized use of their Private Information; (iv) lost opportunity costs

associated with effort expended and the loss of productivity addressing and attempting to mitigate

the actual and future consequences of the Cyber-Attack and Data Breach, including but not limited

to efforts spent researching how to prevent, detect, contest, and recover from identity theft; (v) the

continued risk to their Private Information, which remains in Defendant’s possession and is subject

to further unauthorized disclosures so long as Defendant fails to undertake appropriate and

adequate measures to protect the Private Information in its continued possession; (vi) future costs

in terms of time, effort, and money that will be expended as a result of the Cyber-Attack and Data

Breach for the remainder of the lives of Plaintiff and Class Members; and (vii) the

diminished value of Defendant’s services they received.




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       195.    As a direct and proximate result of Defendant’s breaches of its fiduciary duties,

Plaintiff and Class members have suffered and will continue to suffer other forms of injury and/or

harm, and other economic and non-economic losses.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the other members of the Class

proposed in this Complaint, respectfully requests that the Court enter judgment in favor of Plaintiff

and the Class and against Defendant, as follows:

           A. For an Order certifying this action as a class action and appointing Plaintiff and

               her counsel to represent the Class;

           B. For equitable relief enjoining Defendant from engaging in the wrongful conduct

               complained of herein pertaining to the misuse and/or disclosure of Plaintiff’s and

               Class members’ Private Information, and from failing to issue prompt, complete

               and accurate disclosures to Plaintiff and Class members;

           C. For equitable relief compelling Defendant to utilize appropriate methods and

               policies with respect to consumer data collection, storage, and safety, and to

               disclose with specificity the type of PII compromised during the Data Breach;

           D. For equitable relief requiring restitution and disgorgement of the revenues

               wrongfully retained as a result of Defendant’s wrongful conduct;

           E. Ordering Defendant to pay for not less than three (3) years of credit monitoring

               services for Plaintiff and the Class;

           F. For an award of actual damages, compensatory damages, statutory damages, and

               statutory penalties, in an amount to be determined, as allowable by law;

           G. For an award of punitive damages, as allowable by law;



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           H. For an award of attorneys’ fees and costs, and any other expense, including expert

               witness fees;

           I. Pre- and post-judgment interest on any amounts awarded; and

Such other and further relief as this court may deem just and proper.

                                         JURY DEMAND

       Plaintiff demands a trial by jury on all issues so triable.



Dated: November 19, 2021                               Respectfully submitted,


                                                       _/s/ David Pastor____________
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